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                            Exhibit 12
                  Declaration of Eden Shemuelian
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  From: UCLA BruinALERT <                       >
  Date: Mon, Apr 29, 2024 at 8:01 AM
  Subject: BruinALERT: Campus Activity Updates (Monday, April 29th)
  To:                                  <                                   >



  BruinALERT: UCLA has a long history of peaceful protest and we are heartbroken to report
  that yesterday, some physical altercations broke out among demonstrators on Royce Quad.

  We have since instituted additional security measures and increased the numbers of our
  safety team members on site, including our uniformed Student Affairs Mitigators (SAMs),
  Public Safety Aides (PSAs), CSC and campus security.

  As an institution of higher education, we stand firmly for the idea that even when we
  disagree, we must still engage respectfully and recognize one another’s humanity. We are
  dismayed that yesterday certain individuals instead chose to jeopardize the physical safety
  of the community.

  For more information about emergencies at UCLA, please visit https://bso.ucla.edu/.




                      SHEMUELIAN DECLARATION EXHIBIT 12
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